
I would grant and docket the writ application of Webster Parish Sheriff Gary Sexton, Danny Couch, John Sides and Sherry Bagwell pursuant to La. C.C.P. art. 966(H). In my view, it appears the trial court incorrectly found that there was a genuine issue of material fact as to the contamination of the water to which plaintiff, as a pre-trial detainee at Bayou Dorcheat Correctional Center, was provided access. Whether plaintiff's speculative allegation that the water was contaminated, without more, constitutes competent evidence to raise a "genuine issue" of material fact under La. C.C.P. art. 966(D) warrants further study. Such evidence is particularly troubling in that it is inconsistent with plaintiff's prior statements that he refused to drink the water because he did not like the taste of it.
